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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-24619-CIV-ALTONAGA/Torres

 POET THEATRICALS MARINE,
 LLC; et al.,

        Plaintiffs,
 v.

 CELEBRITY CRUISES, INC.; et al.,

       Defendants.
 ________________________________/

                       ORDER REQUIRING SCHEDULING REPORT
                      AND CERTIFICATES OF INTERESTED PARTIES 1

        The parties are directed to prepare and file a joint scheduling report, as required by Local

 Rule 16.1, by November 20, 2020. In addition, by November 20, 2020, the parties, including

 governmental parties, must file certificates of interested parties and corporate disclosure

 statements that contain a complete list of persons, associated persons, firms, partnerships, or

 corporations that have a financial interest in the outcome of this case, including subsidiaries,

 conglomerates, affiliates, parent corporations, and other identifiable legal entities related to a

 party. Throughout the pendency of the action, the parties are under a continuing obligation to

 amend, correct, and update the certificates.

        DONE AND ORDERED in Miami, Florida, this 12th day of November, 2020.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE
 cc:    counsel of record



        1
            The parties must not include Judge Altonaga and U.S. Magistrate Judge Torres as interested
 parties unless they have an interest in the litigation.
